Case: 2:12-cv-00937-MHW-NMK Doc #: 60 Filed: 04/24/14 Page: 1 of 3 PAGEID #: 931




                       IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

THE HUNTINGTON NATIONAL BANK :
                                :                    CASE NO.: 2:12-cv-937
          Plaintiff,            :
                                :
     vs.                        :
                                :                    Judge Watson
TAYLOR BUILDING PRODUCTS, INC., :                    Magistrate Judge King
                                :
          Defendant.            :
                                :

                   PLAINTIFF’S STATUS REPORT (RELATED TO DOC. 58)

        Now comes Plaintiff The Huntington National Bank (“Huntington”), by and through

counsel, and hereby submits the following status report pursuant to this Court’s Order dated

April 18, 2014 (Doc. 58)

        Huntington filed its complaint in this matter on October 11, 2012, seeking foreclosure

and sale of its various collateral securing the debts owed by Defendant Taylor Building Products,

Inc. (“Taylor”). Contemporaneously with the filing of the complaint, Huntington also filed a

motion to appoint receiver to preserve the value of its collateral during the pendency of this

action. On October 15, 2012, this Court entered its Order Appointing Receiver appointing Bill

Fraizier of Raintree Capital Partners (the “Receiver”) receiver of Taylor’s assets and business

operations. During his service as receiver, the Receiver fulfilled his duties pursuant to the Order

Appointing Receiver and identified a buyer for the assets of the receivership estate. This Court,

after due consideration, approved and confirmed a sale of the receivership assets to the buyer.

This Court has also authorized distribution of the sale proceeds as proposed by the Receiver.

With the receivership assets liquidated, the Receiver filed his Final Report on February 10, 2014.

This Court approved the Final Report on March 18, 2014.



6647089v1
Case: 2:12-cv-00937-MHW-NMK Doc #: 60 Filed: 04/24/14 Page: 2 of 3 PAGEID #: 932




          Upon information and belief, the Receiver has determined that the administration of the

receivership estate has concluded and is, or will be, filing a motion to terminate the receivership

estate.     Huntington supports the termination of the receivership estate.       With its collateral

liquidated, Huntington’s claims in this matter have been resolved. As such, Huntington supports

termination of the receivership estate and dismissal of this action.



                                              Respectfully submitted,

                                              /s/ Justin W. Ristau
                                              Justin W. Ristau        (0075222)
                                              Robert T. Castor        (0082566)
                                              BRICKER & ECKLER LLP
                                              100 South Third Street
                                              Columbus, Ohio 43215
                                              (614) 227-2300 Telephone
                                              (614) 227-2390 Telefax
                                              jristau@bricker.com
                                              rcastor@bricker.com
                                              Attorneys for Plaintiff
                                              The Huntington National Bank




6647089v1
Case: 2:12-cv-00937-MHW-NMK Doc #: 60 Filed: 04/24/14 Page: 3 of 3 PAGEID #: 933




                                  CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a copy of the foregoing STATUS REPORT was

served upon the parties listed below as indicated on April 24, 2014.

VIA CM/ECF

Myron N. Terlecky, Esq.                            Ronald H. Snyder, Esq.
Aaron C. Firstenberger, Esq.                       Kristin Watson, Esq.
James A. Coutinho, Esq.                            Cloppert, Latanick, Sauter & Washburn
Strip, Hoppers, Leithart, McGrath & Terlecky Co.   225 E Broad Street, 4th Floor
575 South Third Street                             Columbus, OH 43215
Columbus, OH 43215                                 Counsel for Claimant International Union, United
Counsel for Receiver Bill Frazier                  Automobile, Aerospace and Agricultural Implement
                                                   Workers of America and UAW Local 1637

D. Joe Griffith, Esq.
Dagger Johnston Miller Ogilvie & Hampson
144 E. Main Street
PO Box 667
Lancaster, OH 43130
Counsel for Intervenor Plaintiff Thornton &
Roshon Properties, Inc.


VIA REGULAR U.S. MAIL

Taylor Building Products, Inc.                     Brian Gianangeli, Esq.
c/o Tobin Mann, Statutory Agent                    The Law Office of Charles Mifsud, LLC
3010 Columbus-Lancaster Road                       326 South High Street Annex, Suite 201
Lancaster, OH 43130                                Columbus, OH 43215
Defendant

Ignazio Cangialosi                                 Dennis J. Morrison
417 Saddle Back Trail                              Means, Bichimer, Burkholder & Baker Co. LPA
Franklin Lakes, NJ 07417                           1650 Lake Shore Drive, Suite 285
                                                   Columbus, OH 43204

Arthur M. Neiss                                    3825 Columbus Road LLC
Beattie Padovano, LLC                              P.O. Box 687
50 Chestnut Ridge Road, #208                       Newark, OH 43085-0687
P.O. Box 244
Montvale, NJ 07645


                                                     /s/ Justin W. Ristau
                                                     Justin W. Ristau     (0075222)




6647089v1
